
Green, J.
delivered the opinion of the court.
This is an action of trespass for taking with force and arms various articles of furniture, the property of the plaintiff.
On the trial the defendant offered to prove that the property seized belonged to a third person, and not to the plaintiff. This proof was rejected by the court, to which the defendant excepted, and prosecutes this appeal in error.
No part of the evidence is set out in the bill of exceptions, so that we are unable to perceive that this testimony offered could have been relevant. If the plaintiff had previously proved that he was in possession of the property when the trespass was committed, or had a right to the possession, that would entitle him to the action: proof that the property taken was owned by another, could not deieat it. It follows that in such case, the proof offered would be irrelevant and incompetent. As the party excepting has not set out the whole case, we are to presume that it was of such a character as to authorize the judgment the court gave.
This is not like the cases cited from 3 Starkie, 1456, where the defendant may prove that the premises belonged to another, by whose authority and license he entered.
Judgment affirmed.
